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                              EXHIBIT O
Sent:       Mon, 26 Aug 2013 22:09:41 -0400
Subject:     Case 2:18-cv-03549-GRB-ST
            Recommendations                       Document
                               for School Board Election        39-15 Filed 03/01/19 Page 2 of 2 PageID #: 596
                                                         Poll Sites
From:       Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:         khoey@bufsd.org, rfeliciano@bufsd.org


Dear Kathy and Robert,

First, thanks so much for inviting me to the meeting two weeks ago and tomorrow’s meeting about polling locations in Brentwood schools.
Unfortunately, I came down with a high fever and flu tonight, so I will not be able to make it to tomorrow’s meeting. That said, Kathy, would it be
possible to participate by phone?

Second, while I cannot attend tomorrow, I do wish to share the best practices from good government experts with whom I spoke about the
situation in the district.

Their input is summarized as follows:

A. Reducing the number of poll sites would likely make it harder for district voters to cast their ballots, and, by extension, depress voter turnout;

B. Regarding safety concerns: while I understand the impulse behind your concerns, a Sandy Hook-type scenario has never occurred on a school
election day to our knowledge, and indeed seems less likely on Election Day, given that there are more adults around the school who could intervene;

C. Should the concern remain about unsupervised adults in the school persist, one could create a clear flow of traffic and provide additional
security, as appropriate, to ensure adults follow the designated route, while maintaining the number of poll sites;

D. Should the district continue to feel that it must switch certain (or all poll sites), it is critical that the total number of poll sites does not decline —
in other words, should the 4 middle school sites be used, then an additional five sites near existing elementary school sites should be identified, in
conjunction with an aggressive voter education campaign to inform all district voters of their new poll sites; and

E. Irrespective of the district’s decision related to poll sites, to increase voter participation, it is worth further examining the option of enabling
voters to vote at any school district polling site. This last question would require an examination of whether such action falls under the school
board’s jurisdiction. Kathy, I would greatly appreciate it if you could indicate to me the relevant regulations for this final matter—that is, are
they state election regulations or school board election policies?

Should there not be a way for me to participate by phone tomorrow, I trust that you will be able to respond in writing to the concerns I’ve raised and
that you will keep me informed about the discussion that takes place tomorrow and the recommendations emanating from the meeting. Our coalition
plans to remain as involved as it can in this unfolding decision-making process.

Many thanks again for your invitations and consideration,

Daniel

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Daniel Altschuler, Coordinator
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